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 1    supporting emergency injunctive relief, namely, immediate release, set forth in the
 2    Court’s orders issued in Castillo v. Barr, CV 20-00605-TJH (AFMx)(C.D. Cal. Mar.
 3    27, 2020), ECF No. 32; and Hernandez v. Wolf, CV 20-60017-TJH (KSx)(C.D. Cal.
 4    Apr. 1, 2020), ECF No. 17.
 5          Based on the incorporated factual and legal grounds, and the facts and arguments
 6    presented, here,
 7

 8          It is Ordered that the application for a temporary restraining order be, and
 9    hereby is, Granted.
10

11          It is further Ordered that Respondents shall, by 5:00 p.m. on April 17, 2020,
12    release Petitioner Beatriz Andrea Forero Chavez from custody pending further order
13    of this Court.
14

15          It is further Ordered that Petitioner shall not violate any federal, state or local
16    laws after released from custody pursuant to this order.
17

18          It is further Ordered that Respondents shall show cause, if they have any, as
19    to why the Court should not issue a preliminary injunction in this case. Respondents’
20    response, if any, to this order to show cause shall be filed by Noon on April 24, 2020.
21    Petitioner’s reply, if any, to Respondents’ response shall be filed by Noon on April 29,
22    2020. The matter will then stand submitted.
23

24    Date: April 16, 2020
25                                               __________________________________
26                                                      Terry J. Hatter, Jr.
27
                                                 Senior United States District Judge

28


                                                  Temporary Restraining Order – Page 2 of 2
